                     UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, et al.

              v.                                                     Case Number: 1:23CV878

ALAN HIRSCH, et al.

                                           NOTICE
                                           ______
        TAKE NOTICE that a BENCH TRIAL has been tentatively SET in the above-referenced
case for the SEPTEMBER 3, 2024 CALENDAR TERM. Said term shall begin on September
3, 2024 and will continue until all the cases on the calendar have been tried. Cases will not
necessarily be called for trial in the order in which they will appear on the calendar.

       PLACE:        Hiram H. Ward Bldg., 251 N. Main St., Winston-Salem, NC
       COURTROOM NO: 1
       DATE & TIME: *September 3, 2024 at 9:30 a.m.
       PROCEEDING:   Jury Trial

       *Counsel will be notified of a date certain for trial closer to the start of the term.

        A settlement conference in the above-referenced case may be set for a date at least two
weeks before the commencement of the calendar term. Counsel are directed to bring their clients
and a representative from the corporations to the settlement conference.

        The parties shall comply in all respects with Fed. R. Civ. P. 26(a)(3) regarding final
pretrial disclosure, including the time requirements set out therein. Unless the court orders
otherwise, pretrial disclosures must be made no later than August 2, 2024. Motions in
limine must be filed no later than August 9, 2024. Any objections to pretrial disclosures
and responses to motions in limine must be served and promptly filed no later than August
16, 2024.

        Each party shall file a trial brief, along with proposed findings of fact and
conclusions of law no later than August 13, 2024. An electronic Word version of the findings
of fact and conclusions of law shall be emailed to the assigned district judge’s ECF mailbox.

John S. Brubaker, Clerk

By:   /s/ Anita Engle, Deputy Clerk
Date:   April 4, 2024
TO: ALL COUNSEL AND/OR PARTIES OF RECORD




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